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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
     Plaintiffs,

               v.                                    C.A. No. 1:18-cv-11028-GAO

MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,
     Defendants.


                        MOTION FOR ADMISSION PRO HAC VICE

       Defendants MACOM Technology Solutions Holdings, Inc. and MACOM Technology

Solutions Inc. (“Defendants”), by their undersigned counsel of record, move pursuant to Rule

83.5.3 that Amanda Tessar, Judith B. Jennison, and Sarah E. Stahnke, attorneys with Perkins

Coie LLP, be admitted to practice in this Court in the above-captioned case on behalf of

Defendants.

       Ms. Tessar is a member in good standing of the bar of the State of Colorado, as well as

the U.S. Patent and Trademark Office, the U.S. District Court for the District of Colorado, the

U.S. Court of Appeals for the Federal Circuit, and the U.S. District Court for the Eastern District

of Texas. There are no disciplinary proceedings pending against Ms. Tessar in any jurisdiction,

Ms. Tessar has not previously had a pro hac vice admission to this court (or other admission for

a limited purpose under Local Rule 85.5.3) revoked for misconduct, and Ms. Tessar is familiar

with the Local Rules of this Court.

       Ms. Jennison is a member in good standing of the bars of the State of California, the State

of Washington, the State of New Jersey, and the District of Columbia, as well as the U.S. Court
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of Appeals for the Ninth Circuit, the U.S. District Court for the Northern District of California,

the U.S. District Court for the Eastern District of California, the U.S. District Court for the

Central District of California, the U.S. District Court for the Southern District of California, the

U.S. District Court for the District of New Jersey, the U.S. District Court for the Eastern District

of Texas, and the U.S. District Court for the Eastern District of Washington. There are no

disciplinary proceedings pending against Ms. Jennison in any jurisdiction, Ms. Jennison has not

previously had a pro hac vice admission to this court (or other admission for a limited purpose

under Local Rule 85.5.3) revoked for misconduct, and Ms. Jennison is familiar with the Local

Rules of this Court.

       Ms. Stahnke is a member in good standing of the bar of the State of California, as well as

the U.S. Patent and Trademark Office. There are no disciplinary proceedings pending against

Ms. Stahnke in any jurisdiction, Ms. Stahnke has not previously had a pro hac vice admission to

this court (or other admission for a limited purpose under Local Rule 85.5.3) revoked for

misconduct, and Ms. Stahnke is familiar with the Local Rules of this Court.

       The certifications of Ms. Tessar, Ms. Jennison, and Ms. Stahnke attesting to the foregoing

are submitted with this Motion.

                                               MACOM TECHNOLOGY SOLUTIONS
                                               HOLDINGS, INC. and MACOM
                                               TECHNOLOGY SOLUTIONS INC.,

                                               By their attorneys,

                                               /s/ C. Max Perlman
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Dated: June 7, 2018

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on June 7, 2018

                                              /s/ C. Max Perlman
                                              C. Max Perlman




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